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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

THOMAS & BETTS CORPORATION,
et al.,

Plaintiffs,

VB.

HUBBELL INCORPORATED, et al.,
Defendants.

THOMAS & BETTS CORPORATION.
et al.,

Plaintiff's/Cross-Defendants.
vs.
HUBBELL INCORPORATED,

Defendant/Cross-Plaintiff.

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Civ. No. 05-2267-D[P

 

SCHEDULING ORDER

 

Pursuant to the scheduling conference set by written notioe,

the following dates were established as the final dates for the

case involving alleged patent infringement:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(1): July'l, 2005

JOINING PARTIES: July 29, 2005

AMENDING PLEADINGS: July 29,

INITIAL MOTIONS TO DISMISS: July 29,

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2005

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COMPLETING ALL DISCOVERY: February 24, 2006
(a) DOCUMENT PRODUCTION: February 24, 2006

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: February 24, 2006

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE oF PLAINTIFF's RULE 26 ExPERT
INFORMATION= March 24, 2006

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: April 7, 2006

(3) EXPERT WITNESS DEPOSITIONS: May 5, 2006
FILING DISPOSITIVE MOTIONS: June 30, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection to the default, response,
answer, or objection shall be waived.

This case is set for a non~jury trial. The pretrial order
date, pretrial conference date, and trial date will be set by the
presiding judge. It is anticipated that the trial will last
approximately five (5) days.

This case may be appropriate for ADR. The parties are to
appear before Magistrate Judge Pham on Thursday, September 15,
2005, at 9:30 a.m., for a status conference to discuss the
possibility of ADR.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

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The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a motion. for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

At this time, the parties have not given consideration to
whether they wish to consent to trial before the magistrate judge.
The parties will file a written consent form with the court should
they decide to proceed before the magistrate judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the

scheduling dates set by this order will not be modified or
extended.

IT IS SO ORDERED.

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TU M. PHAM
United States Magistrate Judge

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Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:05-CV-02267 Was distributed by fax, mail, or direct printing on
June 23, 2005 to the parties listed.

ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

